Case 2:23-cv-03885-LMG-LDW Document 150 Filed 04/23/24 Page 1 of 8 PageID: 6653
                                                     Central Business District (CBD) Tolling Program Environmental Assessment
                                                                            Appendix 17A, Environmental Justice: Methodology



 17A.1      INTRODUCTION

 Appendix 17 to the Environmental Assessment (EA) for the Central Business District (CBD) Tolling Program
 (the Project) presents supplemental information related to the environmental justice analysis conducted
 for the Project and summarized in Chapter 17, “Environmental Justice,” of the EA. Specifically,
 Appendix 17A provides more detailed information on the methodology used for the analysis. Appendix 17B
 provides detailed maps illustrating the locations of minority and low-income populations in the study areas
 and Appendix 17C includes tables with related census information for all census tracts in the study area.

 This part of Appendix 17 (Appendix 17A) provides an overview of the methodology used for the
 environmental justice analysis and the data sources used (Sections 17A.2 and 17A.3), followed by
 information on the methodology for identifying study areas for the analysis (Section 17A.4), the
 methodology for identifying minority populations (Section 17A.5), and the methodology for identifying low-
 income populations (Section 17A.6).


 17A.2      OVERVIEW OF METHODOLOGY

 The environmental justice analysis evaluates the potential for disproportionately high and adverse effects
 to environmental justice populations, consistent with FHWA’s 2011 Guidance on Environmental Justice and
 the National Environmental Policy Act (NEPA), U.S. Department of Transportation (USDOT) Order 5610.2C,
 and FHWA Order 6640.23A. The following Federal regulatory and guidance documents were used for the
 environmental justice analysis:

 •   Executive Order 12898, Federal Actions to Address Environmental Justice in Minority Populations and
     Low-Income Populations (February 1994) 1

 •   USDOT Order 5610.2C, Department of Transportation Actions to Address Environmental Justice in
     Minority Populations and Low-Income Populations (May 2021) 2
 •   USDOT, Environmental Justice Strategy (November 2016) 3
 •   FHWA Order 6640.23A, FHWA Actions to Address Environmental Justice in Minority Populations and
     Low-Income Populations (June 2012) 4
 •   FHWA, Guidance on Environmental Justice and NEPA (December 2011) 5
 •   FHWA, Environmental Justice Reference Guide (April 2015) 6




 1   https://www.archives.gov/files/federal-register/executive-orders/pdf/12898.pdf.
 2   https://www.transportation.gov/sites/dot.gov/files/Final-for-OST-C-210312-003-signed.pdf.
 3   https://www.transportation.gov/transportation-policy/environmental-justice/environmental-justice-strategy.
 4   https://www.fhwa.dot.gov/legsregs/directives/orders/664023a.cfm.
 5   https://www.environment.fhwa.dot.gov/env_topics/ej/guidance_ejustice-nepa.aspx.
 6   https://www.fhwa.dot.gov/environment/environmental_justice/publications/reference_guide_2015/index.cfm.


 August 2022                                                                                               Appendix 17A-1



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Case 2:23-cv-03885-LMG-LDW Document 150 Filed 04/23/24 Page 2 of 8 PageID: 6654
 Central Business District (CBD) Tolling Program Environmental Assessment
 Appendix 17A, Environmental Justice: Methodology

 •   Federal Interagency Working Group on Environmental Justice & NEPA Committee, Promising Practices
     for Environmental Justice Methodologies in NEPA Reviews (March 2016) 7

 The following methodology was used to conduct the environmental justice analysis:

 1. Review Project effects to identify appropriate study areas for analysis of environmental justice.
 2. Identify existing minority and low-income (environmental justice) populations in the study areas.
 3. Determine whether the Project would result in beneficial and/or adverse effects on the identified
    environmental justice populations. This includes consideration of measures to avoid, minimize, and/or
    mitigate any adverse effects of the Project as well as potential offsetting benefits to the affected
    environmental justice populations. Input from environmental justice populations regarding potential
    issues of concern and mitigation measures is an important part of this step.
 4. If adverse effects would remain after implementation of measures to avoid, minimize, or otherwise
    mitigate adverse effects, and taking into account offsetting benefits, identify whether those effects
    would be predominately borne by environmental justice populations or are appreciably more severe
    or greater in magnitude on environmental justice populations than the adverse effect suffered by the
    non-minority or non-low-income population (these are considered disproportionately high and adverse
    effects).
 5. If no disproportionately high and adverse effects are identified, the environmental justice evaluation is
    complete. If disproportionately high and adverse effects on environmental justice populations are
    anticipated, evaluate whether there is a further practicable mitigation measure or practicable
    alternative that would avoid or reduce the disproportionately high and adverse effects. As noted in
    FHWA’s 2011 guidance, if there is a disproportionately high and adverse effect on an environmental
    justice population after taking benefits and mitigation into account, “FHWA will approve the proposed
    action only if it determines that no such practicable measures exist.” In addition, FHWA will not approve
    the proposed action unless it determines “that there is a substantial need for a project, based on the
    overall public interest; and alternatives that would have less adverse effects on protected populations
    have either (a) adverse social, economic, environmental, or human health impacts that are more
    severe; or (b) would involve increased costs of an extraordinary magnitude.”
 6. In addition to assessing the potential for disproportionately high and adverse effects on environmental
    justice populations, the Project Sponsors must provide meaningful opportunities for environmental
    justice populations to provide input on the Project.


 17A.3       DATA SOURCES

 The environmental justice analysis is based on the conclusions of the other chapters of this EA, in
 combination with supplemental data on environmental conditions and information from the U.S. Census

 7   The Project Sponsors reviewed this document in developing the analysis but used the guidance set forth in FHWA’s 2011
     Environmental Justice and NEPA. https://www.epa.gov/sites/production/files/2016-
     08/documents/nepa_promising_practices_document_2016.pdf.


 Appendix 17A-2                                                                                                 August 2022



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Case 2:23-cv-03885-LMG-LDW Document 150 Filed 04/23/24 Page 3 of 8 PageID: 6655
                                              Central Business District (CBD) Tolling Program Environmental Assessment
                                                                     Appendix 17A, Environmental Justice: Methodology

 Bureau. These conclusions were informed, in part, by concerns raised by the public during early public
 outreach for the Project in fall 2021.

 Areas where residents are minority and/or low-income were identified using data from the U.S. Census
 Bureau 2015-2019 American Community Survey (ACS) 5-Year Estimates to identify census tracts that are
 low-income and/or minority. The 2015–2019 ACS 5-Year Estimates are the most current full set of
 demographic information, including racial and ethnic characteristics and household income and poverty
 status, available from the U.S. Census Bureau at the census tract level. The 2020 Census information now
 available does not include a full set of information.

 Socioeconomic characteristics of the traveling public, including minority and low-income populations, were
 based on data from the U.S. Census Bureau’s Census Transportation Planning Package (CTPP). The analysis
 of travel patterns in the regional study area focuses on low-income and minority people who travel to and
 from the Manhattan CBD to evaluate the effects of changing travel patterns on those people. The CTPP
 provides special tabulations, based on the U.S. Census Bureau ACS 5-Year Estimates, that are useful for
 transportation planning, including commuter flow data at varying geographic scales by mode of commute
 and household income. The CTPP data include information on commuter patterns for a range of income
 levels. The most recent CTPP is based on the 2012-2016 ACS 5-Year Estimates and has not been updated
 to reflect more recent ACS data.

 Conclusions about the effects of the CBD Tolling Alternative on low-income and/or minority populations
 and potential measures to avoid, minimize, or mitigate those effects were informed by the early
 environmental justice public outreach for the Project in fall 2021. That outreach included public webinars
 to engage with environmental justice populations throughout the 28-county region, coordination with an
 Environmental Justice Technical Advisory Group, and meetings with an Environmental Justice Stakeholder
 Working Group.


 17A.4     METHODOLOGY FOR IDENTIFYING STUDY AREAS

 17A.4.1 Types of Study Areas

 The environmental justice analysis evaluates two types of potential effects of the CBD Tolling Program,
 neighborhood effects and regional effects:

 •   Local (Neighborhood) Effects: These are effects on local communities. The potential neighborhood
     effects would be primarily related to diverted trips and changes in traffic patterns, and the potential
     resulting effects in terms of traffic congestion, air emissions, and noise.

 •   Regional Effects: These are effects on regional mobility. The analysis considers how implementation of
     the CBD Tolling Alternative would affect the regional population in terms of increased costs (tolls),
     changes in trip time, and changes in transit conditions.




 August 2022                                                                                        Appendix 17A-3



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Case 2:23-cv-03885-LMG-LDW Document 150 Filed 04/23/24 Page 4 of 8 PageID: 6656
 Central Business District (CBD) Tolling Program Environmental Assessment
 Appendix 17A, Environmental Justice: Methodology

 To evaluate both types of effects of the CBD Tolling Program on environmental justice populations, two
 different study areas were used:

 •   Local (Neighborhood) Study Area: Based on a review of Project effects identified in other portions of
     the EA, this study area encompasses locations where localized effects (such as changes in traffic
     volumes, air emissions, or noise) would occur with the Project.

 •   Regional Study Area: The regional study area encompasses the 28-county study area that is the main
     catchment area for trips to and from the Manhattan CBD and the area where changes in travel patterns
     and mobility would occur.


 17A.4.2 Review of Effects of CBD Tolling Alternative to Identify Environmental Justice Study
         Areas

 Chapter 16, “Summary of Effects,” of the EA provides a summary of the CBD Tolling Alternative’s effects
 both locally and regionally. FHWA and the Project Sponsors reviewed those conclusions as well as concerns
 raised during public outreach for the Project to adjust the environmental analyses conducted for this EA
 and determine what Project effects have the potential to affect environmental justice populations. This
 informed selection of study areas for the environmental justice analysis and the topics to be considered in
 the analysis.

 The information presented in Chapters 4 through 15 of this EA describe the effects of implementation of
 the CBD Tolling Alternative on the general population and identify potential adverse effects and measures
 to avoid, minimize, or mitigate those effects.

 In addition, during environmental justice public outreach conducted for the Project in fall 2021, members
 of the public raised a number of concerns related to the Project’s potential for effects on environmental
 justice populations, and FHWA and the Project Sponsors reviewed those concerns and included them in
 the analysis of environmental justice. Table 16-1 in Chapter 16, “Summary of Effects,” of the EA identifies
 the overall effects of the Project, compares the effects of the range of tolling scenarios analyzed in the EA,
 and identifies the potential for adverse effects on the overall population. FHWA and the Project Sponsors
 reviewed those conclusions as well as concerns raised during public outreach for the Project to determine
 what Project effects have the potential to affect environmental justice populations. This informed selection
 of study areas for the environmental justice analysis and the topics to be considered in the analysis.


 17A.5       METHODOLOGY FOR IDENTIFYING MINORITY POPULATIONS

 17A.5.1 Definitions

 USDOT Order 5610.2C and FHWA Order 6640.23A include the following definitions related to minority
 populations:




 Appendix 17A-4                                                                                    August 2022



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Case 2:23-cv-03885-LMG-LDW Document 150 Filed 04/23/24 Page 5 of 8 PageID: 6657
                                                 Central Business District (CBD) Tolling Program Environmental Assessment
                                                                        Appendix 17A, Environmental Justice: Methodology

 •   Minority: a person who is Black or African American (not Hispanic), American Indian and Alaskan Native,
     Asian American, Native Hawaiian or other Pacific Islander, and Hispanic or Latino.
 •   Minority population: Any readily identifiable groups of minority persons who live in geographic
     proximity, and, if circumstances warrant, geographically dispersed/transient persons, who will be
     similarly affected by a proposed FHWA program, policy, or activity.

 This analysis also includes people who identified themselves as “some other race” or “two or more races”
 in the U.S. Census Bureau 2015–2019 ACS 5-Year Estimates.


 17A.5.2 Minority Populations in Local (Neighborhood) Study Area

 Census tracts were considered to be minority if either: (1) at least 50 percent of the census tract’s
 population identifies as minority; or (2) the percentage of population identifying as minority in the census
 block group exceeds the share of minority population in the county where that census tract is located.


 17A.5.3 Minority Populations in Regional Study Area

 The environmental justice analysis considers the Project’s potential for effects on minority-population
 commuters, travelers, or individuals in specific industries, businesses, or other groups that could be
 affected by increased cost associated with accessing the Manhattan CBD. To identify minority populations
 among these groups, the Project Sponsors used worker flow information from the CTPP.

 Data is available in the CTPP regarding mode of travel by racial/ethnic group, and this data was used to
 identify overall travel patterns for minority people who work in the Manhattan CBD. However, the CTPP
 does not have data on minority commuters’ travel modes that also identifies the locations from which they
 travel. For this information, the Project Sponsors estimated the general locations from which minority
 commuters drive to the Manhattan CBD using a several-step process. For each census tract, information is
 available regarding travel modes for people who travel to work in Manhattan. The analysis assumed that
 the travel modes for all workers traveling to Manhattan from the tract also apply to the minority population
 in those tracts who are traveling to Manhattan for work. Using that assumption, the Project Sponsors
 estimated the number of minority people who commute to work in the Manhattan CBD by travel mode
 from each tract.

 This methodology used data sets available in the CTPP in the first four steps before estimating in the final,
 fifth step:

 1. Identify all census tracts in the 28-county region that are origins for minority people who work in the
    Manhattan CBD: the result is 4,311 census tracts.
 2. For all tracts identified in step 1, identify all tracts that are origins for workers who drive to work in the
    Manhattan CBD: the result is 3,427 census tracts.




 August 2022                                                                                           Appendix 17A-5



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Case 2:23-cv-03885-LMG-LDW Document 150 Filed 04/23/24 Page 6 of 8 PageID: 6658
 Central Business District (CBD) Tolling Program Environmental Assessment
 Appendix 17A, Environmental Justice: Methodology

 3. For all tracts identified in step 2, identify tracts that do not have any minority workers who drive to
    work, regardless of destination. The result is 25 tracts, which are then subtracted from those identified
    in step 2, leaving 3,402 census tracts with minority people who work in the Manhattan CBD and
    potentially could drive.
 4. For the tracts identified in Step 3, identify tracts where all workers who commute to the Manhattan
    CBD drive. There are 31 such tracts, with 470 minority workers. Therefore those 470 minority workers
    drive to the Manhattan CBD. Similarly, identify tracts where all workers are minority or all drivers are
    minority. The result of this step is 8,764 minority auto commuters in 345 tracts.
 5. For the remaining 3,060 census tracts, identify the percent of all workers who commute by car to the
    Manhattan CBD and identify the number of minority people who commute to the Manhattan CBD from
    the tract. Apply the auto share percentage to the minority workers, assuming that the same percentage
    of minority workers drives as the percentage of overall workers.

 Table 17A-1 provides a summary of the results using this approach.

 Table 17A-1. Estimating Minority Workers Who Drive to the Manhattan CBD
                    STEP                                     SOURCE                                  RESULT
  1. Census tracts that are the origin for    CTPP data on worker flows between      Total minority workers in the
  minority people who work in the             census tracts, by race                 Manhattan CBD
  Manhattan CBD                                                                      Identification of all census tracts as
                                                                                     origins
  2. Census tracts that are origins for all   CTPP data on worker flows between      Identification of specific census tracts
  workers who drive to the Manhattan          census tracts, by mode                 from which people drive to work to the
  CBD                                                                                Manhattan CBD
  3. Census tracts where no minority          CTPP data on worker origins and mode   Identification of specific census tracts
  workers drive to work                       to work, by race (no destinations)     from which no minority workers can
                                                                                     drive to work in the Manhattan CBD
  4. Census tracts where all workers          CTPP data on worker flows, by race     Total minority commuters to the
  commute to the Manhattan CBD by             and/or by mode                         Manhattan CBD who drive from
  driving, all workers are minority, or all                                          specific identified census tracts
  drivers are minority.
  5. For remaining census tracts, apply       CTPP data on worker flows by mode      Estimated number of minority workers
  overall worker mode share to the            applied to CTPP data on worker flows   who drive to the Manhattan CBD from
  Manhattan CBD to minority people who        by race                                remaining tracts
  work in the Manhattan CBD.
                      RESULTING TOTAL:                                               Estimated total of minority workers
                                                                                     who drive to the Manhattan CBD
                                                                                     and from which specific census
                                                                                     tracts




 Appendix 17A-6                                                                                                  August 2022



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Case 2:23-cv-03885-LMG-LDW Document 150 Filed 04/23/24 Page 7 of 8 PageID: 6659
                                                     Central Business District (CBD) Tolling Program Environmental Assessment
                                                                            Appendix 17A, Environmental Justice: Methodology

 17A.6       METHODOLOGY FOR IDENTIFYING LOW-INCOME POPULATIONS

 17A.6.1 Definitions

 USDOT Order 5610.2C and FHWA Order 6640.23A include the following definitions related to minority
 populations:

 •    Low-Income: A person whose household income is at or below the U.S. Department of Health and
      Human Services (HHS) poverty guidelines.
 •    Low-Income Population: Any readily identifiable groups of low-income persons who live in geographic
      proximity, and, if circumstances warrant, geographically dispersed/transient persons who will be
      similarly affected by a proposed FHWA program, policy, or activity.

 The U.S. Census Bureau identifies households and household income. According to the U.S. Census Bureau,
 a household “includes all the persons who occupy a housing unit as their usual place of residence.” 8

 The analysis for this Project used information on the number of households living in poverty from the U.S.
 Census Bureau 2015–2019 ACS 5-Year Estimates. The HHS poverty guidelines are based on annual statistical
 poverty thresholds from the U.S. Census Bureau. 9 The U.S. Census Bureau poverty thresholds are used to
 identify the population living in poverty for statistical purposes, while the HHS poverty guidelines are used
 to determine eligibility for Federal programs. Poverty thresholds vary by family size and composition, while
 poverty guidelines vary by household size and geographic location and both are updated annually. 10

 The environmental justice analysis used information from the U.S. Census Bureau’s 2015-2019 ACS 5-Year
 Estimates to identify low-income census tracts in the study area. Information on the population with
 household incomes below the poverty thresholds as defined by the U.S. Census Bureau is available at a
 local (census tract) level, whereas information on the HHS poverty guideline is not. However, as the HHS
 poverty guidelines are based on the Census Bureau threshold, the latter is commonly used as a proxy for
 the former.

 Based on a review of potential methodologies and consideration of a number of critical factors, the Project
 Sponsors in consultation with FHWA identified income thresholds to be used in identifying low-income
 populations that are appropriate for identifying low-income populations in the Project study area and
 reflect local conditions and cost of living in the study area.




 8    https://www.census.gov/quickfacts/fact/note/US/HSD410219.
 9    https://aspe.hhs.gov/frequently-asked-questions-related-poverty-guidelines-and-poverty.
 10   This approach is recommended in the Federal Interagency Working Group on Environmental Justice & NEPA Committee’s
      Promising Practices for Environmental Justice Methodologies in NEPA Reviews (2016).


 August 2022                                                                                               Appendix 17A-7



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Case 2:23-cv-03885-LMG-LDW Document 150 Filed 04/23/24 Page 8 of 8 PageID: 6660
 Central Business District (CBD) Tolling Program Environmental Assessment
 Appendix 17A, Environmental Justice: Methodology

 17A.6.2 Low-Income Populations in Local (Neighborhood) Study Area

 17A.6.2.1           Approach
 The Project Sponsors identified census tracts with low-income populations using a low-income threshold
 of twice the Federal poverty threshold. (More specifically, the Project Sponsors used data from the U.S.
 Census on the number of individuals in each census tract with household incomes up to 1.99 times the
 Federal poverty threshold. For simplicity, this analysis refers to that information as twice the Federal
 poverty threshold.) This income level was used to identify low-income census tracts as follows:

 1. The percentage of individuals with household incomes up to twice the Federal poverty threshold in
    each census tract was identified and compared to that percentage for a larger reference area. Census
    tracts with a higher percentage of population with household incomes at or below twice the Federal
    poverty threshold were considered low-income.
 2. The reference area for comparison was the regional 28-county study area.

 The rationale for those two steps is described below.

 17A.6.2.2           Rationale for Low-Income Threshold for Census Tracts
 Executive Order 12898, Federal Actions to Address Environmental Justice in Minority Populations and Low-
 Income Populations (February 11, 1994), directs Federal agencies to identify and address, as appropriate,
 disproportionately high and adverse effects of Federal actions on minority and low-income populations.
 That document does not define “low-income.” While the USDOT Order 5610.2C and FHWA Order 6640.23A
 define low-income populations as people living below the HHS poverty guideline, the 2011 FHWA guidance
 document notes that Project Sponsors may adopt a more inclusive threshold for low-income as long as it
 is inclusive of all persons at or below the Federal poverty guidelines. 11 The Project Sponsors used a
 threshold for identifying populations living in poverty that is specific to the Project context, recognizing that
 the level of income that constitutes poverty is higher in the New York metropolitan region than it is
 nationwide, given the higher cost of many items, and particularly housing, in the New York City area.

 In identifying the low-income threshold of twice the Federal poverty threshold, the Project Sponsors
 considered the following factors, to ensure that the approach reflects the local context for the Project and
 employs an appropriate methodological approach:

 •    The threshold used for identifying low-income census tracts should relate to the Federal poverty
      threshold, rather than to a specific household income level. The Federal poverty threshold incorporates
      consideration of household size and composition, which is important in identifying a household’s
      economic strength.


 11   The U.S. Census Bureau has established poverty thresholds to identify the population living in poverty, which are updated
      each year. These can be used to identify the population living in poverty in a specific location, such as a census tract. The
      HHS poverty guidelines are a simplified version of those Federal poverty thresholds that are used for administrative
      purposes—for instance, determining financial eligibility for certain Federal programs. https://aspe.hhs.gov/frequently-
      asked-questions-related-poverty-guidelines-and-poverty.


 Appendix 17A-8                                                                                                        August 2022



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